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12                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
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14
       Ms. L., et al.,                                   Case No. 18-cv-00428-DMS-AHG
15
                           Petitioners-Plaintiffs,
16     v.
                                                         Date Filed: April 28, 2025
17     U.S. Immigration and Customs Enforcement
       (“ICE”), et al.
18                                                       REPLY IN SUPPORT OF
                                                         MOTION TO ENFORCE
19                          Respondents-Defendants.      SETTLEMENT AGREEMENT
20                                                       REGARDING PROVISION OF
                                                         LEGAL SERVICES
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 1          Defendants did not alert Class Counsel of any intent to change the method of
 2    providing services until after they issued the decision not to renew the Acacia
 3    contract. It was only after Plaintiffs independently learned of this decision that
 4    Defendants announced their intent to make a complete change in how legal services
 5    will be provided.
 6          Now, with only two days left on the current contract, Defendants have not
 7    communicated with Acacia as to how services or information about beneficiaries can
 8    be transitioned. Supp. Van Hofwegen Decl. ¶ 4. And Defendants’ proposed plan for
 9    meeting their obligations under the Agreement – which consists of three paragraphs in
10    a single declaration – provides no concrete information about basic functions, staffing,
11    resources, timeline, and actual programmatic content. More importantly, Defendants’
12    plan is per se unacceptable at the outset because the government cannot be the entity
13    that provides legal advice when it is the government itself that will have rule on the
14
      cases of class members.
15
            Fundamentally, Defendants’ plan to provide the legal services through the
16
      Executive Office of Immigration Review is flawed. As set out in the attached
17
      declarations, EOIR staff cannot provide class members with the legal advice required
18
      by the Agreement. See Section IV.B.2.c.i.(a); Supp. Chadwick Decl. ¶¶ 2-5 (detailing
19
      ethical and regulatory bars to EOIR’s provision of legal advice); Lakhani Decl. ¶¶ 5-
20
      8; Supp. Van Hofwegen Decl. ¶ 3.
21
            Moreover, even if it were not per se unacceptable to have a government agency
22
      provide legal advice, Defendants’ plan does not at all explain how services will be
23
      provided as a practical matter. There is no indication Defendants have developed
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      adequate systems to fulfill the requirements of the Agreement, including but not
25
      limited to: the basic need to effectively reach out to and communicate with class
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      members, to provide the necessary logistical support in submitting applications, to
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      provide the required mentorship to pro bono attorneys, and to develop a system to
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 1    intake and prioritize referrals. Supp. Chadwick Decl. ¶¶ 6-11; Lakhani Decl. ¶¶ 9-12;
 2    Fritz Decl. ¶ 8-12, 15-17 (describing the process of communicating with and assisting
 3    class members). Nor is there any indication Defendants can develop and resource
 4    these systems in time to ensure class members meet impending deadlines for crucial
 5    relief such as parole, employment authorization, and asylum applications. Supp.
 6    Chadwick Decl. ¶ 12; Lakhani Decl. ¶¶ 12-13; Supp. Van Hofwegen Decl. ¶ 9.
 7    Plaintiffs do not disagree that the Defendants may implement the legal services
 8    provisions of the Settlement Agreement through a structure other than the existing
 9    contract. But Defendants must actually implement these services and do so
10    effectively, again even assuming that a government agency can be the entity providing
11    legal advice.
12          The proper course for Defendants to effectuate a transition of services,
13    consistent with the Settlement Agreement, was to communicate that intent sufficiently
14
      in advance of the end of a complex services system and to allow for a full airing of the
15
      sufficiency and design of the substitute. That was not done. Instead, the decision was
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      made abruptly, without any external input, and without any apparent consideration of
17
      the requirements of the Agreement. Supp. Van Hofwegen Decl. ¶ 5.
18
            The Court should reject the government’s new legal services plan and order a
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      continuation of the current contract to provide legal services without interruption.
20
      Should the government wish to pursue alternatives, the Court should order that any
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      plan, with operational details, be submitted sufficiently in advance of the end of the
22
      contract date to allow Plaintiffs to assess and, if needed, contest its sufficiency. But
23
      under no circumstances can the plan be for the government to provide legal advice on
24
      cases that it will adjudicate.
25
                                          CONCLUSION
26
            For these reasons, the Court should grant the Motion to Enforce.
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 1    DATED: April 28, 2025             Respectfully submitted,
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                                  CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on April 28, 2025, I electronically filed the foregoing with the
 3    Clerk for the United States District Court for the Southern District of California by using
 4    the appellate CM/ECF system. A true and correct copy of this brief has been served via
 5    the Court’s CM/ECF system on all counsel of record.
 6
 7                                                  /s/ Lee Gelernt
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